Case 2:05-cV-02281-.]P|\/|-de Document 17 Filed 08/15/05 Page 1 of 3 Page|D 22

IN THE UNITED STATES DISTRICT COUR.'I'
F‘OR THE WESTER.N DISTRICT OF TEN'NESSEE

 

WESTERN DIVISION F[{_ED By no
OSAUG |5 PH 21 01,
WALTER MCGHEE, II IHG
»JASM
Plaintiff, GEM€USPW§P%%MH
W!@ G,": 11_.'!";§1»-§49}.§3

vs. No. 05-2281-Ml/V
THOMAS E. HANSOM, et al.,

Defendants.

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ORDER DENYING MOTIONS FOR LEAVE TO FILE REPLIES

 

On duly 28, 2005, Defendants Markowitz and “Causey and
Caywood, PLLC” filed motions for leave to file a reply to
Plaintiff's response to their motions for summary judgment.
Replies were not necessary for the determination of the defendants'
motions for summary judgment. The defendants’ motions were
granted. The motions for leave to file replies are DENIED as MOOT,

due to the dismissal of this case.

f

IT IS SO ORDERED this !) day of August, 2 05
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Jok PHIPPS MCCALLA
TED sTATEs DISTRICT JUDGE

 

with Flu|e 58 and/or 79(3) FRCP on

This document entered on the docket simsth com§|ianca /;

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02281 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

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Honorable J on McCalla
US DISTRICT COURT

